Case 1:06-cr-00239-PLM             ECF No. 132, PageID.566      Filed 08/10/12        Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 1:06-cr-239-02
v.
                                                    HONORABLE PAUL L. MALONEY
KENNETH JOHNSON,

                  Defendant.
_______________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Kenneth Johnson has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to

cocaine base (crack cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made

retroactive effective November 1, 2011. U.S.S.G. § 1B1.10(c).

       The defendant, however, was sentenced to 80 months imprisonment on November 23,

2011, after remand from the Sixth Circuit Court of Appeals. A reduction was incorporated into

his 80-month sentence as his sentencing was held after Amendment 750 became effective.

Therefore, the defendant has already received benefit of the retroactive amendment.
Case 1:06-cr-00239-PLM       ECF No. 132, PageID.567         Filed 08/10/12    Page 2 of 2




Accordingly,

       IT IS HEREBY ORDERED that Defendant Kenneth Johnson’s motion for modification

of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 125) is DENIED.



Date: August 10, 2012                     /s/ Paul L. Maloney
                                          Paul L. Maloney
                                          Chief United States District Judge
